         Case 1:18-cv-02664-RDM Document 19 Filed 02/19/19 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



Senator RICHARD BLUMENTHAL, et al.,

                           Plaintiffs,

               v.                                    Civil Action No. 18-2664 (RDM)
MATTHEW G. WHITAKER, et al.,

                           Defendants.



    NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

       Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs

hereby give notice that the above-captioned action is voluntarily dismissed, without prejudice.

                                                Respectfully submitted,

By: /s/ Anne Tindall                                By: /s/ Brianne J. Gorod
  Anne Tindall                                        Brianne J. Gorod

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Dated: February 19, 2019
         Case 1:18-cv-02664-RDM Document 19 Filed 02/19/19 Page 2 of 2



                                CERTIFICATE OF SERVICE
       I hereby certify that on February 19, 2019, the foregoing document was filed with the Clerk

of the Court, using the CM/ECF system, causing it to be served on all counsel of record.

Dated: February 19, 2019                         Respectfully submitted,

                                                 /s/ Brianne J. Gorod
                                                 Brianne J. Gorod
